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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORID A

                  0 5 - 2 0 739 CR-H1G ISMIT i McALILE i
                            Case No .
                                                                             ,J


                                        18 U .S.C. § 2252A( a)(5)(B)
                                        18 U .S.C. § 2253(a)


 UNITED STATES OF AMERICA

 vs.
                                                            FILL'_ '0Y -
                                                            MAG . SEG .
 JOSEPH TOME,

                  Defendant.
                                                                            'CE i'lAGGO X
                                                                  CI Fr'',"                  . C.T.
                                                                 C' T '   U .S . GIST
                                                                             F .' . A . . P.AfAMI
                                                                 S.


                                          INDICTMENT

        The Grand Jury charges that :

        On or about September 5, 2001, in Miami-Dade County, in the Southern District of Florida,

 the defendant,

                                         JOSEPH TOME ,

 did knowingly possess materials, that is, computer files stored on a computer hard drive, that

 contained images of child pornography, as defined in 18 U .S.C . § 2256(8)(A), that had been mailed,

 shipped, and transported in interstate and foreign commerce, in violation of Title 18, United States

 Code, Section 2252A(a)(5)(B) (2001) .

                                          FORFEITURE

        1 . The allegations of this Indictment are realleged and by this reference full y

 incorporated herein for the purpose of alleging forfeiture to the United States of America pursuant

 to the provisions of Title 18, United States Code, Section 2253(a) .

        2 . Upon conviction ofthe offense alleged in this Indictment, the United States is entitle d
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 to forfeiture of and the defendant, Joseph Tome, shall forfeit to the United States, pursuant to Title

 18, United States Code, Section 2253(a), any personal property used, or intended to be used to

 commit such violation and any property constituting or derived from any proceeds which the

 defendant obtained, directly or indirectly, as the result of such violation . Such forfeiture shall

 include, but is not limited to :

         a) Dell Dimension Model T-600 computer bearing serial number 6HWTY ;

         b) NEC laptop computer, bearing serial number 3X000398 ;

         c) twenty-two 5 .25 inch floppy disks ;

         d) seventy-one 3 .5 inch floppy disks ; and

         e) one Zip- 100 disk,

 all of which were seized at the defendant's residence located at 5050 N .W . 7`h Street, Apt . 401,

 Miami, Florida, on September 5, 2001 .




                                                        A TRUE BILL




 R. ALEXANDER ACOSTA
 UNITED STATES ATTORNE Y




 JEFFREY E. MARCU S
 ASSISTANT UNITED STATES ATTORNEY




                                                   2
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                            UNITED STATES     on FLSD
                                          DISTRICT     Docket 09/28/2005 Page 3 of 5
                                                   COURT
                                         SOUTHERN DISTRICT OF FLORID A


                                                                              9    .V IH       IGH S                  I i H I McALILE 1
UNITED STATES OF AMERICA
vs.                                   05          •-   2ADN7           0,11


                                                       CERTIFICATE OF TRIAL ATTORNEY *
JOSEPH TOME,
                  Defendant.
                                          /            Superseding Case Information :

Court Division : (Select one )                         New Defendant(s) Yes No
                                                       Number of New Defendant s
X-       Miami Key Wes t                               Total number of counts
         FTL WPB FTP
         I do hereby certify that :
         1 . I have carefully considered the allegations of the indictment, the number of defendants, the number of
                  probable witnesses and the legal complexities of the Indictment/Information attached hereto .
        2 . I am aware that the information supplied on this statement will be relied upon b the Judges of thi s
                 Court in setting their calendars and scheduling criminal trials under the mandate of edy Trial Act ,
                 Title 28 U .S .C . Section 3161 .
        3 . Interpreter : ( Yes or No)                    Nn
                List language and/or dialect
        4 . This case will take               A        days for the parties to t ry .
        5.        Please check appropriate category and type of offense listed be l        w : ,,1Aooox
                                                                                                .. ~I :i ;C' ..(, p157 C7.
                  (Check only one )   (Check only one)                                                  U Z71

        1 0 to 5 days                                                               retry 1,
        II 6 to 10 days                                                             Minor
        III 11 to 20 days                                                           Misdem .
        IV 21 to 60 days                                                            Felony
        V 61 days and over
        6 . Has this case been previously filed in this District Court? (Yes or No)                     N
        If yes :
        Judge : Case No .
        (Attach copy of dispositive order )
        Has a complaint been filed in this matter? (Yes or No)            Nn
        If yes :
        Magistrate Case No .
        Related Miscellaneous numbers :
        Defendants in federal custody as of
        Defendants in state custody as o f
        Rule 20 from the District of
        Is this a potential death penalty case ? (Yes or No)               Nn

        7 . Does this case originate from a matter pending in the U .S . Attorney's Office prior to
                April 1, 2003?   X      Yes N o
        8 . Does this case originate from a matter pending in the U . S . Attorney's Office prior to
                April 1, 1999? Yes              ( No
                If yes, was it pending in the Central Region? Yes No
        9 . Does this case originate from a matter pen din in the Northern Region of the U .S . Attorney's Office prior
                to October 14, 2003? Yes              XN o

      10 . Does this case originate from a matter pending in the Narcotics Section (Miami) prior to
                May 18, 2003? Yes                        X     No



                                                                JEFFREY E . MARCU S
                                                                ASSISTANT UNITED STATES ATTORNEY
                                                                Florida Court No . 0310890


*Penalty                              Sheet(s)                        attached                               REV.1/14/04
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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                        PENALTY SHEE T

 Defendant 's Name : JOSEPH TOME
                                                                                s 1~IcALILEY~
 Case No
                rm - -2 Ow 3-               9           HIGVIS~ l
                                                         i


 Count : 1

 Possession of Child Pornograph y

 Title 18, United States Code, Section 2252(a)(5)(B )

 fi NIax . renalty : D years' impnsonment
                                                                    MAG . S E C .


 Count :

                                                                                    l:.SDCOX
                                                                                    CST . CT.
                                                                                        WAM 1




 *Max. Penalty :

 Count :




 *M ax. Penal   :




  *Refers only to possible term of incarceration , does not include possible fines , restitution,
          special assessments , parole terms , or forfeitures that may be applicable .
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